 Case:18-05288-EAG11 Doc#:307 Filed:01/27/20 Entered:01/27/20 13:25:43      Desc: Main
                            Document Page 1 of 1


 1                     IN THE UNITED STATES BANKRUPTCY COURT FOR
                               THE DISTRICT OF PUERTO RICO
 2

 3
     IN RE:                                  CASE NO. 18-05288-EAG11
 4    SKYTEC INC                             Chapter 11

 5

 6
     XX-XXXXXXX
 7
                   Debtor(s)                      FILED & ENTERED ON JAN/27/2020
 8

 9                                           ORDER

10        The motion filed by the debtor requesting extension of time to file 1129

11   statement (docket #305) is hereby granted.

12        IT IS SO ORDERED.

13        In Ponce, Puerto Rico, this 27 day of January, 2020.

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

29

30

31

32
